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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


                                              )       CASE NO.           4:06 CR 177
UNITED STATES OF AMERICA,                     )
                                              )
               Plaintiff,                     )       JUDGE DONALD C. NUGENT
                                              )
       v.                                     )
                                              )
MARVIN BRADLEY,                               )       MEMORANDUM OPINION
                                              )       AND ORDER
               Defendant.                     )



       This matter comes before the Court upon Defendant, Marvin Bradley’s pro se Motion

seeking a reduction in his sentence based on changes to the sentencing guidelines set forth in the

Fair Sentencing Act of 2010. These changes alter the base offense levels for cocaine base (crack

cocaine) convictions. (ECF #542). Mr. Bradley was convicted of a cocaine base crime. The

Fair Sentencing Act of 2010 was passed into law on August 3, 2010, but was not made

retroactive at that time. Pursuant to a June 30, 2011 decision by the United States Sentencing

Commission, U.S.S.G. § 2D1.1 as amended, the Fair Sentencing Act will become retroactive

effective November 1, 2011, assuming Congress approves the Guidelines Amendment.

Therefore, although Mr. Bradley may possible qualify for a reduction, his current motion is

premature as the decision on retroactivity is not final and effective.

       Pursuant to 18 U.S.C. § 3006A, the Public Defender’s Office has filed a petition for

appointment in this case, on behalf of Mr. Bradley. (ECF #541).          It is the Court’s

understanding that this inmate is not currently represented by private counsel and that he is not

presently able to hire private counsel for this purpose. Therefore, this motion is GRANTED.
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The Court hereby appoints the Office of the Federal Public Defender to advise Mr. Bradley in

determining his eligibility for a sentence reduction pursuant U.S.S.G. § 2D1.1, and to assist him

in preparing a future motion for reduction of sentence if he is deemed eligible after the

Guidelines Amendment become retroactive. IT IS SO ORDERED.




                                                     /s/ Donald C. Nugent
                                                            DONALD C. NUGENT
                                                     United States District Judge

DATED:     July 20, 2011




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